


THE STATE OF SOUTH CAROLINA


THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS&nbsp;
 PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR. 
THE STATE OF SOUTH CAROLINA
In The Supreme Court

  
    
      
        Keith Pearson, Petitioner,
v.
State of South Carolina, Respondent.
      
    
  


ON WRIT OF CERTIORARI

Appeal From Spartanburg County
&nbsp;Larry Patterson, Circuit Court Judge
Roger L. Couch, Post Conviction Judge

Memorandum Opinion No. 2006-MO-049
Submitted December 5, 2006  Filed December 11, 2006


  
    
      
Appellate Defender Robert M. Pachak, S.C. Commission on Indigent Defense, Division of Appellate Defense, of Columbia, for Petitioner.
Attorney General Henry D. McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, and Assistant Attorney General Molly R. Crum, Office of the Attorney General, of Columbia, for Respondent.
      
    
  


PER CURIAM:&nbsp; Petitioner seeks a writ of certiorari from the dismissal of his application for post-conviction relief
(PCR).
Because there is sufficient evidence to support the PCR judges finding that petitioner did not knowingly and intelligently waive his right to a direct appeal, we grant certiorari and proceed with a review of the direct appeal issues pursuant to Davis v. State, 288 S.C. 290, 342 S.E.2d 60 (1986).&nbsp; 
Counsel for petitioner has filed a brief pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), and a petition to be relieved as counsel.&nbsp; Petitioner has filed a pro se response.&nbsp; After a thorough review of the record pursuant to Anders, supra, we dismiss the appeal and grant the petition to be relieved as counsel.
DISMISSED.
 TOAL, C.J., MOORE, WALLER, BURNETT and PLEICONES, JJ., concur.

